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           22-1291
                  UNITED STATES COURT OF APPEALS
                     FOR THE SECOND CIRCUIT


              United States Securities and Exchange Commission,
                                             Plaintiff-Appellee,
                                       v.
                                  Elon Musk,
                                            Defendant-Appellant.


             On appeal from the United States District Court for the
             Southern District of New York (Hon. Lewis J. Liman)

                      SUPPLEMENTAL APPENDIX

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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
____________________________________________
                                            :
UNITED STATES SECURITIES AND                :
EXCHANGE COMMISSION                         :
                                            :
              Plaintiff,                    :
                                           :
             vs.                           : No. 1:18-cv-8865-AJN-GWG
                                           : [rel. 1:18-cv-8947]
ELON MUSK                                  :
                                           :
             Defendant.                    :
 __________________________________________:

       JOINT SUBMISSION IN SUPPORT OF APPROVAL AND ENTRY OF
                   PROPOSED CONSENT JUDGMENTS

        Pursuant to this Court’s October 4, 2018 Orders, counsel for Plaintiff United

 States Securities and Exchange Commission (“SEC”) and Defendants Elon Musk and

 Tesla, Inc. (“Tesla”) provide this submission in support of approval and entry of the

 proposed consent judgments to resolve these civil matters. Because the parties

 considered the resolution of these two matters together, this submission discusses the

 appropriateness of both of the two proposed consent judgments.

        The parties believe that resolution of these cases consistent with the proposed

 settlement terms is in the best interest of investors, including Tesla shareholders. We

 therefore respectfully submit that the Court should accept and enter the proposed consent

 judgments.

                                      THE ACTIONS

        On September 27 and 29, 2018, the SEC filed complaints against Mr. Musk and

 Tesla, respectively. See Complaint as to Defendant Elon Musk, 1:18-cv-8865-AJN-




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GWG, Dkt. No. 1; Complaint as to Defendant Tesla, Inc., 1:18-cv-8947-AJN-GWG, Dkt.

No. 1.

         Mr. Musk and Tesla did not respond to the SEC complaints prior to these

settlements being reached.

                      THE PROPOSED SETTLEMENT TERMS

         Without admitting or denying the SEC’s allegations, Mr. Musk and Tesla have

agreed to settle these actions and consent to the entry of the proposed consent judgments.

The terms of the settlements were negotiated by Mr. Musk’s and Tesla’s experienced

counsel and approved by the SEC. The proposed consent judgments against Mr. Musk

and Tesla would:

         (a)    permanently enjoin Mr. Musk from violating Section 10(b) of the
                Exchange Act and Rule 10b-5 thereunder;
         (b)    permanently enjoin Tesla from violating Rule 13a-15 of the Exchange
                Act;
         (c)    order Mr. Musk to pay a civil penalty in the amount of $20,000,000;
         (d)    order Tesla to pay a civil penalty in the amount of $20,000,000;
         (e)    order Mr. Musk to comply with undertakings requiring him to resign as
                Chairman of Tesla’s board of directors, certify that he has done so, and
                comply with mandatory procedures to be adopted by Tesla concerning the
                oversight and approval of his Tesla-related public statements; and
         (f)    order Tesla to comply with undertakings, including appointment of a new
                Chairman and two additional independent directors to its board of
                directors, establishment of a new board committee responsible for
                disclosures, implementation of mandatory procedures to oversee and pre-
                approve Mr. Musk’s Tesla-related written communications that reasonably
                could contain information material to the company or its shareholders, and
                designation or employment of an experienced securities lawyer whose
                duties will include enforcement of those procedures.




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See Consent and Proposed Final Judgment as to Defendant Elon Musk, 1:18-cv-8865-

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Tesla, Inc., 1:18-cv-8947-AJN-GWG, Dkt. Nos. 3-1, 3-2.

                                  SCOPE OF REVIEW

       The use and entry of consent judgments has long been endorsed by the Supreme

Court. See, e.g., United States v. Armour & Co., 402 U.S. 673, 681 (1971); Swift & Co.

v. United States, 276 U.S. 311, 324-27 (1928). The Second Circuit has similarly noted

that there is a “strong federal policy favoring the approval and enforcement of consent

decrees.” SEC v. Wang, 944 F.2d 80, 85 (1991).

       As this Court noted in its Orders, in reviewing a consent judgment in an SEC

enforcement case, the district court’s role is to determine whether the proposed consent

judgment is “fair and reasonable.” SEC v. Citigroup Global Markets, Inc., 752 F.3d 285,

294 (2d Cir. 2014). If the consent decree includes an injunction, as is the case here, the

Court must also find that “the public interest would not be disserved” by the proposed

injunctive relief. Id. at 298 (quoting eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391

(2006)). As the Second Circuit noted, “[t]he job of determining whether the proposed

S.E.C. consent decree best serves the public interest, however, rests squarely with the

S.E.C., and its decision merits significant deference.” Id. at 296. As a result, “[a]bsent a

substantial basis in the record for concluding that the proposed consent decree does not

meet these requirements, the district court is required to enter the order.” Id. at 294.




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       THE PROPOSED SETTLEMENTS SHOULD BE APPROVED

Position of the SEC

       The proposed settlements in this case are fair, reasonable, and will serve the

interests of the public and investors. As a result, the proposed consent judgments meet

the standard set forth by the Second Circuit and should be entered.

       First, Mr. Musk has consented to the entry of a judgment that would permanently

enjoin him from violating Section 10(b) of the Exchange Act and Rule 10b-5 thereunder,

and Tesla has consented to entry of a judgment that would permanently enjoin it from

violating Rule 13a-15 of the Exchange Act. See Consent and Proposed Final Judgment

as to Defendant Elon Musk, 1:18-cv-8865-AJN-GWG, Dkt. Nos. 6-1, 6-2; Consent and

Proposed Final Judgment as to Defendant Tesla, Inc., 1:18-cv-8947-AJN-GWG, Dkt.

Nos. 3-1, 3-2.

       Section 21(d)(1) of the Exchange Act authorizes the SEC to seek such injunctive

relief. 15 U.S.C. § 78u(d)(1). These injunctions benefit investors “by reminding

defendants that they must obey the law in the future,” SEC v. Clifton, 700 F.2d 744, 748

(D.C. Cir. 1983), and enabling the Court to enforce compliance using its contempt power.

See SEC v. Bilzerian, 112 F. Supp. 2d 12, 16 (D.D.C. 2000) (“The Court has both an

inherent and statutory power to enforce compliance with its orders through the remedy of

civil contempt.”); see also SEC v. Blinder, Robinson & Co., Inc., 855 F.2d 677, 680 (10th

Cir. 1988) (endorsing the district court’s finding that “the reason for the injunction was

the ability of the enforcement agency to come to court and show a violation and to then

have available the quick remedy of contempt”).




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       Second, the proposed consent judgments order Mr. Musk and Tesla to pay

significant civil penalties in the amount of $20,000,000 each. See Consent and Proposed

Final Judgment as to Defendant Elon Musk, 1:18-cv-8865-AJN-GWG, Dkt. Nos. 6-1, 6-

2; Consent and Proposed Final Judgment as to Defendant Tesla, Inc., 1:18-cv-8947-AJN-

GWG, Dkt. Nos. 3-1, 3-2.

       Subject to the Court’s approval, the SEC intends to distribute these penalties to

affected investors. The SEC is authorized to seek, and this Court is empowered to order,

civil penalties pursuant to Section 21(d)(3) of the Exchange Act. 15 U.S.C. § 78u(d)(3).

Generally, civil penalties serve dual purposes of addressing prior alleged violations and

also providing future deterrence. See, e.g., SEC v. Tourre, 4 F. Supp. 3d 579, 597

(S.D.N.Y. 2014).

       In this case, the SEC considered multiple factors in determining appropriate civil

penalties. These included the seriousness of the alleged violations, the market impact

caused by the alleged conduct, and Defendants’ financial means, but also countervailing

factors such as Defendants’ willingness to settle these actions promptly, Defendants’

apparent lack of pecuniary gain, and the limited temporal scope of the conduct.

       Finally, under the terms of the proposed consent judgments, Mr. Musk and Tesla

have agreed to undertake a number of corporate governance measures specifically

tailored to prevent future violations of the type alleged by the SEC here. Pursuant to the

Court’s equitable powers, it may order such ancillary relief to effectuate the purposes of

the federal securities laws. See SEC v. Am. Bd. of Trade, Inc., 830 F. 2d 431, 438 (2d

Cir. 1987); 15 U.S.C. § 78u(d)(5) (“In any action or proceeding brought or instituted by

the Commission under any provision of the securities laws, the Commission may seek,



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and any Federal court may grant, any equitable relief that may be appropriate or

necessary for the benefit of investors.”).

       Specifically, Mr. Musk has agreed to undertakings requiring him to (a) resign

from his role as Chairman of the board of directors of Tesla and not seek or accept

reappointment as Chairman for a period of three years thereafter; (b) comply with all

mandatory procedures implemented by Tesla regarding the (i) oversight of

communications relating to the company made in any format, and (ii) pre-approval of

written communications that contain, or reasonably could contain, information material to

the company or its shareholders; and (c) certify, in writing, compliance with undertaking

(a). See Consent and Proposed Final Judgment as to Defendant Elon Musk, 1:18-cv-

8865-AJN-GWG, Dkt. Nos. 6-1, 6-2.

       Relatedly, Tesla has agreed to undertakings requiring it to (a) appoint an

independent Chairman of Tesla’s board of directors to replace Mr. Musk and not to

reappoint Musk to Chairman for a minimum of three years, and only then if such

reappointment is approved by a majority vote of shareholders; (b) add two independent

directors to Tesla’s board of directors; (c) create a permanent committee of Tesla’s board

of directors, consisting of independent directors only, overseeing (i) implementation of

the terms of the consent and final judgment; (ii) the controls and processes governing the

company’s and its senior executives’ disclosures and/or public statements that relate to

the company; and (iii) the review and resolution of human resources issues or issues

raising conflicts of interest that involve any member of executive management; (d)

employ or designate an experienced securities lawyer for so long as Tesla remains a

reporting company under the Exchange Act; (e) implement mandatory procedures and



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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK




UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

          Plaintiff,
     v.                                Civil Action No. 1:18-cv-08865-AJN

ELON MUSK,

          Defendant.



  DEFENDANT ELON MUSK’S MEMORANDUM OF LAW IN SUPPORT OF HIS
       MOTION TO QUASH & TO TERMINATE CONSENT DECREE




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I.      INTRODUCTION

        On February 24, 2022, this Court invited Defendants to move to quash the Securities and

Exchange Commission’s (“SEC” or “Commission”) subpoena. See Dkt. No. 65.1 Mr. Musk

now respectfully does so.

        Through its subpoena dated November 29, 2021, the SEC demands Mr. Musk produce

documents pertaining to (1) the review or pre-approval of statements he posted on Twitter and

(2) his sale of Tesla stock or options. See Exhibit A (Elon Musk Subpoena, In the Matter of

Tesla, Inc. (SF-4496)). Mr. Musk respectfully moves this Court to quash the subpoena with

respect to the first category of requests pertaining to the review or pre-approval of his tweets (the

“Challenged Requests”). These demands have no basis in the securities laws and, insofar as they

seek information pertaining to the consent judgment issued by Your Honor, the SEC has no

authority to act absent this Court’s authorization. Moreover, the SEC issued the Challenged

Requests in bad faith as part of a concerted campaign to target and silence Mr. Musk’s speech on

matters of public concern. Accordingly, Mr. Musk respectfully requests that this Court quash the

Challenged Requests.

        Mr. Musk further moves to terminate the consent decree entered in this case. Dkt.

No. 14. The equities strongly favor terminating the consent decree, which the SEC has used to

trample on Mr. Musk’s First Amendment rights and to impose prior restraints on his speech.

Contrary to the SEC’s conception, the consent decree is not a charter for subjecting Mr. Musk to

unwarranted scrutiny for exercising his constitutional right to speak his mind in public. The SEC

is using its near limitless resources to further chill Mr. Musk’s First Amendment rights via



        1    Unless otherwise indicated, docket references refer to the docket in this case, SEC v.
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endless investigations outside the bounds of law. It follows that the consent decree should be

terminated, or, at a minimum, modified to remove the prior restraint on Mr. Musk’s free speech.

II.        BACKGROUND

           Over the past four years, the SEC has subjected Tesla, Inc. (“Tesla”) and Mr. Musk to

unrelenting investigation into Mr. Musk’s First Amendment expression. In 2018, the SEC

brought actions for securities fraud against Mr. Musk and Tesla regarding statements Mr. Musk

made on his Twitter account. Dkt. No. 1; SEC v. Tesla, 1:18-cv-8947 (S.D.N.Y.), Dkt. No. 1.

Mr. Musk felt “forced to sign the consent decree in 2018 [when] Tesla was a less mature

company and the SEC’s action stood to jeopardize the company’s financing. Defending against

the SEC’s action through protracted litigation was not in the interests of the company and its

shareholders.” Declaration of Elon Musk, filed concurrently herewith, at ¶ 4.

           On October 16, 2018, this Court issued a final judgment requiring Mr. Musk to obtain

pre-approval of any written communications that contain, or reasonably could contain,

information material to Tesla or its shareholders. Dkt. No. 14. Tesla, for its part, agreed to

implement mandatory procedures and controls to provide oversight of Mr. Musk’s

communications about the company and require pre-approval by Mr. Musk, of communications

that contain or reasonable could contain, information material to Tesla or its shareholders. Tesla,

Dkt. Nos. 3, 14. On April 30, 2019, pursuant to a consent motion from both parties, th is Court

issued an amended judgment delineating specific topics for which Mr. Musk is required to obtain

preapproval before issuing a written communication. Dkt. No. 47. The Amended Judgment

further provided “that this Court shall retain jurisdiction of this matter for the purposes of

enforcing the terms of the Final Judgment, as amended by this Order.” Id. at 2; Tesla, Dkt. No.

17 at 2.



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         On November 6, 2021 at 12:17 pm PT, in direct response to well-publicized proposals for

revising the federal tax code and criticism directed at him, Mr. Musk tweeted a question: “Much

is made lately of unrealized gains being a means of tax avoidance, so I propose selling 10% of

my Tesla stock. Do you support this?” Elon Musk (@elonmusk), Twitter (Nov. 6, 2021, 12:17

pm PT), https://twitter.com/elonmusk/status/1457064697782489088 [hereinafter “12:17 pm

Tweet”]. At 12:23 pm PT, he tweeted, “I will abide by the results of this poll, whichever way it

goes.”       Elon    Musk    (@elonmusk),     Twitter   (Nov.    6,   2021,   12:23   pm       PT),

https://twitter.com/elonmusk/status/1457066048944066565 [hereinafter “12:23 pm Tweet”].

Ultimately, 57.9% of the votes (3,519,252 in total) voted “yes.” See supra, 12:17 pm Tweet.

         On November 16, 2021, the SEC served Tesla with a subpoena.            Exhibit B (Tesla

Subpoena, In the Matter of Tesla, Inc. (SF-4496)). In part, the Tesla Subpoena seeks information

relating to whether Mr. Musk sought and obtained approval from Tesla before he posted the

November 6, 2021 tweets, and if and how Tesla has complied with the judgment and amended

judgment in this case. For example, Demand 7 of the Tesla Subpoena requires:

         From April 30, 2019 to the present, all Documents and Communications
         Concerning Elon Musk’s compliance or non-compliance with Tesla’s disclosure
         controls and procedures, executive communications policy, external
         communications policy, other policies or procedures relating to public statements
         or communications by Tesla executives, or the final judgment or amended final
         judgment in SEC v. Musk, 1:18-cv-8865-AJN (S.D.N.Y.).

Ex. B at 5. Demand 10 similarly requires “From April 30, 2019 to the present, all Documents

and Communications Concerning Tesla’s compliance or non-compliance with the final judgment

or amended final judgment in SEC v. Tesla, 1:18-cv-8947-AJN (S.D.N.Y.).” Id.

         On November 29, 2021, the SEC issued a similar subpoena to Mr. Musk.                Ex. A.

Demand 3 of the Musk Subpoena directs Mr. Musk to produce “All Documents and

Communications Concerning” the 12:17 and 12:23 tweets. Ex. A. at 4. Demand 4 requests


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“Documents related in any way to submission of the 12:17 tweet and/or the 12:23 tweet to

Tesla’s General Counsel or Securities Counsel, or any counsel acting in either capacity, for pre-

approval or review before they were published.” Id.

         The next day, through counsel, Mr. Musk and Tesla produced to the SEC a privilege log

addressing these requests. Exhibit C (Privilege Log sent from A. Spiro to R. Andrews Nov. 30,

2021).       Nevertheless, over the following months the SEC has continued to demand the

production of further documents, even as Tesla has produced approximately 1,000 documents in

response to the SEC’s investigation. Mr. Musk has not produced any do cuments personally.

         This subpoena is but one in a winding parade of investigations into Mr. Musk and

companies in which he holds leadership roles or financial stakes, conducted seriatim and without

factual basis by the SEC.       See infra at 17–18.      The SEC’s previous attempts to obtain

information from Tesla and Mr. Musk have not yielded a shred of evidence that either violated

the securities laws. The SEC has nevertheless repeatedly attempted to tarnish Tesla’s and

Mr. Musk’s records with repeated, unfounded investigations. As the SEC returns again and

again to seek the same information relating to compliance with the consent decree entered by this

Court, it has become all too clear that it is trying to end-run the Court’s supervision.

III.     LEGAL STANDARD

         A.       Motion To Quash.

         In a proceeding to quash an administrative subpoena, the district court’s role is limited.

See SEC v. Jerry T. O’Brien, Inc., 467 U.S. 735, 741 (1984).2 However, because “[i]t is the

court’s process which is invoked to enforce the administrative summons[,] a court may not

permit its process to be abused.” United States v. Powell, 379 U.S. 48, 58 (1964). Accordingly,

         2Unless otherwise indicated, this brief omits from quotations and citations all internal
quotation marks, footnotes, and citations.

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the court must satisfy itself “(1) that the investigation will be conducted pursuant to a legitimate

purpose, (2) that the inquiry may be relevant to the purpose, (3) that the information sought is not

already within the Commissioner’s possession, and (4) that the administrative steps required . . .

have been followed.” RNR Enters., Inc. v. SEC, 122 F.3d 93, 96–97 (2d Cir. 1997) (quoting

Powell, 379 U.S. at 57–58); see also EEOC v. Tire Kingdom, Inc., 80 F.3d 449, 450 (11th Cir.

1996) (requiring that the administrative agency’s investigation is within the agency’s authority);

FDIC v. Garner, 126 F.3d 1138, 1142 (9th Cir. 1997) (same).

       Moreover, a court may quash or refuse to enforce an administrative subpoena if the target

demonstrates that the agency has issued the subpoena for an improper purpose or in bad faith,

such as to harass the individual from whom information was sought, to pressure the party to

settle a collateral dispute, or “for any other purpose reflecting on the good faith of the particular

investigation.” Powell, 379 U.S. at 58; see also SEC v. Brigadoon Scotch Distrib., 480 F.2d

1047, 1056 (2d Cir. 1973) (“[W]hile the SEC is entitled to great freedom in conducting its

investigations, it is not at liberty to act unreasonably, and in appropriate circumstances the court

may inquire into the reasons for an investigation and into its effects.”); SEC v. ESM Gov't Sec.,

Inc., 645 F.2d 310, 315 (5th Cir. 1981) (rejecting the view that agency “abuse of process” should

be “rigidly defined” and denying improper enforcement of SEC subpoena); SEC v. Waymack,

358 F. Supp. 3d 56, 65 (D.D.C. 2019) (finding it “unreasonable to require production of all

documents with [overbroad] terms even for a limited time period”); SEC v. Sears, No. 05-728-

JE, 2005 WL 5885548, at *1 (D. Or. July 28, 2005) (“harassment or to pressure [a] person to

settle a collateral dispute” are improper purposes); cf. Hampton v. Steen, No. 2:12-cv-00470-SU,

2014 WL 2949302, at *5–10 (D. Or. June 27, 2014) (subpoena under Federal Rule of Civil




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Procedure 45 may be quashed when “served for the purpose of annoying and harassment and not

really for the purpose of getting information”).

       B.      Motion To Terminate Consent Decree.

       A district court has inherent authority to terminate or modify a consent decree. See Rufo

v. Inmates of the Suffolk Cty Jail, 502 U.S. 367, 381, 381 n. 6 (1992). “[A] district court may

modify or terminate a consent decree, subject to abuse-of-discretion review, if changed

circumstances have caused compliance with the decree to become substantially more onerous,

have rendered the decree impracticable, or have caused its continued enforcement to be inimical

to the public interest.” Coffey v. Braddy, 834 F.3d 1184, 1193 (11th Cir. 2016); see also Rufo,

502 U.S. at 381. “[A]ny showing of a significant change in factual conditions or law would

justify a modification of a decree.” Patterson v. Newspaper & Mail Deliverers’ Union of New

York & Vicinity, 13 F.3d 33, 37 (2d Cir. 1993) (applying a “flexible standard”). “[A] court of

equity [is entitled] to focus on the dominant objective of the decree and to terminate the entire

decree once that objective has been reached.” Id. at 39; see also Fed. R. Civ. P. 60(b) (a “court

may relieve a party or its legal representative from a final judgment . . . [if] the judgment has

been satisfied, released, or discharged; it is based on an earlier judgment that has been reversed

or vacated; or applying it prospectively is no longer equitable”); United States v. Sec’y of Hous.

& Urban Dev., 239 F.3d 211, 216–17 (2d Cir. 2001) (documenting the “significant relaxation of

the restrictions imposed on District Courts seeking to modify consent decrees”).

IV.    ARGUMENT

       The SEC has spent the past five months devoting its formidable resources to investigating

Mr. Musk and Tesla, much as it has spent the past four years doing the same under varying

auspices. The November 29, 2021 subpoena’s requests for Mr. Musk to produce information



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solely regarding the judgments overseen by this Court cross the line. The Challenged Requests

seek information not pursuant to any legitimate enforcement of the securities laws, but rather

information solely under the purview of this Court. Worse yet, the SEC’s unrelenting stream of

investigations into Mr. Musk and companies in which Mr. Musk holds leadership roles or

financial stakes demonstrates that the SEC has been proceeding in bad faith. The Challenged

Requests should be quashed.

       What is more, the consent decree should be terminated because compliance with it has

become impossible under the SEC’s skewed conception of its authority. Nothing less than First

Amendment freedoms are imperiled. The more the SEC monitors Mr. Musk’s Twitter activity,

and forces others to do the same, the more Mr. Musk’s freedom of expression is infringed.

Especially considering that Mr. Musk had no choice but to sign the consent as he did in 2018, the

equities now compel termination of the consent decree.

       A.      The Challenged Requests Should Be Quashed Because The SEC Lacks
               Authority To Issue A Subpoena Based On The Consent Decree Rather Than
               The Securities Laws.

       To defeat a motion to quash an administrative subpoena, the SEC “must show that the

investigation will be conducted pursuant to a legitimate purpose.” Powell, 379 U.S. at 57–58. It

cannot do so here.     It is black-letter law that the SEC “has statutory authority to conduct

nonpublic investigations into possible violations of the securities laws and, in the course thereof,

to issue subpoenas to obtain relevant information.” Jerry T. O’Brien, 467 U.S. at 737. What the

SEC may not do is use its status as a powerful regulatory body to harass individuals. Nor may

the agency expand its investigatory authority by invoking the orders issued by this Court, even as

it simultaneously evades this Court’s jurisdiction to enforce those orders.            The SEC’s

interpretation of its authority under the securities laws would give it license to evade court

supervision of every consent decree it enters—a reading that is untenable.
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                1.    An Administrative Subpoena Must Be Supported By A Legitimate
                      Investigatory Purpose.

       “[A] governmental investigation into corporate matters may be of such a sweeping nature

and so unrelated to the matter properly under inquiry as to exceed the investigatory power.”

United States v. Morton Salt Co., 338 U.S. 632, 652 (1950). And “while the SEC is entitled to

great freedom in conducting its investigations, it is not at liberty to act unreasonably, and in

appropriate circumstances the court may inquire into the reasons for an investigation and into its

effects.” Brigadoon Scotch Distrib. Co., 480 F.2d at 1056. As the Supreme Court has made

clear, “[p]ersons from whom [an agency] seeks relevant information are not required to submit to

[the agency’s] demand, if in any respect it is unreasonable or overreaches the authority Congress

has given.” Oklahoma Press Pub. Co. v. Walling, 327 U.S. 186, 217 (1946). The D.C. Circuit

has recognized that this principle applies with even greater force when an agency issues a

subpoena to an individual, rather than a corporation. See Resol. Tr. Corp. v. Walde, 18 F.3d 943,

949 (D.C. Cir. 1994) (recognizing that cases that have permitted “agencies the greatest latitude in

seeking the information they deem relevant to their duties . . . involve corporations rather than

individuals,” and noting that “[t]he Supreme Court reminds us that ‘corporations can claim no

equality with individuals in the enjoyment of a right to privacy’”) (quoting Morton Salt, 338 U.S.

at 652).

       The Exchange Act empowers the SEC only to “make such investigations as it deems

necessary to determine whether any person has violated, is violating, or is about to violate any

provision of this chapter [or] the rules or regulations thereunder” and only to demand to see any

papers “the Commission deems relevant or material to the inquiry.” 15 U.S.C. §§ 78u(a), (b).

To compel a person or entity to provide documentary or testimonial evidence in an investigation,

the Commission must first authorize its staff to issue subpoenas by entering a formal order of


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investigation. A formal order of investigation outlines the scope of the investigation that the

Commission has authorized and identifies the relevant statutes and rules that might have been

violated. As such, any legitimate investigatory purpose must be identified in a formal order.

               2.      The Securities Laws Do Not Supply A Legitimate Basis For The
                       Challenged Requests.

       The formal order of investigation in this case provides no basis for the Challenged

Requests. The formal order identifies that the judgments in this case enjoined Tesla from

violating Rule 13a-15 of the Exchange Act. Exhibit D at 1 (Formal Order of Investigation, SF-

4496) (citing Dkt. Nos. 14, 17). It then lists three possible securities laws violations, only one of

which, Rule 13a-15, the SEC asserts relates to review or pre-approval of Mr. Musk’s Twitter

activity. Id. at 1–2. In our communications with SEC staff, they have insisted that Rule 13a-15

provides a basis for their investigation into Mr. Musk’s tweets.        But Rule 13a-15 does not

provide a general license to the SEC to investigate communications beyond those related to

reports filed or submitted under the Exchange Act. Nor does the rule allow the SEC to monitor

compliance with the consent decree absent court supervision.

                       a)      Rule 13a-15 Applies To Disclosures In Securities Act Reports,
                               Not Any And All Public Communications.

       Rule 13a-15 concerns “disclosure controls and procedures” specifically relating to reports

filed or submitted under the Exchange Act. 17 C.F.R. § 240.13a-15(e). It has nothing to do with

review or pre-approval of executive communications. While both the judgments in this matter

and Rule 13a-15(e) use the phrase “disclosure controls and procedures,” the securities laws limit

the Rule 13a-15 requirement to companies’ policies and procedures specifically ensuring

accuracy of the reports a company submits under the Exchange Act. Rule 13a-15(e) states:

       For purposes of          this section, the term disclosure controls and
       procedures means controls and other procedures of an issuer that are designed to
       ensure that information required to be disclosed by the issuer in the reports that

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       it files or submits under the Act is recorded, processed, summarized and reported,
       within the time periods specified in the Commission’s rules and forms.

Id. (first emphasis in original) (citing 15 U.S.C. 78a et seq.).

       Courts have applied this definition uniformly. See, e.g., In re Proquest Sec. Litig., 527 F.

Supp. 2d 728, 742 n.8 (E.D. Mich. 2007) (citing SEC Rule 13a–15(e)) (“The Sarbanes-Oxley

Act provides the following definition of disclosure controls and procedures: Disclosure controls

and procedures include, without limitation, controls and procedures designed to ensure that

information required to be disclosed by an issuer in the reports that it files or submits under the

Act is accumulated and communicated to the issuer’s management, including its principal

executive and principal financial officers, or persons performing similar functions, as appropriate

to allow timely decisions regarding required disclosures.”) (emphasis added); In the Matter of

China-Biotics, Inc., Release No. 70800, at *10 n.40 (S.E.C., Nov. 4, 2013) (“Exchange Act

Rule 13a-15(e), 17 C.F.R. § 240.13a-15(e), defines ‘disclosure controls and procedures’ as

controls and procedures ‘designed to ensure that information required to be disclosed by an

issuer in [its Exchange Act] reports . . . is recorded, processed, summarized and reported, within

the time periods specified in the Commission’s rules and forms.’”) (emphasis added); In the

Matter of Altaba Inc., f/d/b/a Yahoo! Inc., Release No. 3937, at *8 (S.E.C., Apr. 24, 2018):

(similar); In the Matter of Talon Real Est. Holding Corp., Release No. 87614, at *6 n.30 (S.E.C.,

Nov. 25, 2019) (similar).

       Rule 13a-15 does not bestow a roving license for the SEC to investigate any and all

“disclosure controls and procedures” it identifies. As the SEC has repeatedly recognized in its

own proceedings, see supra, Rule 13a-15 concerns “disclosure controls and procedures”

specifically relating to reports filed or submitted under the Exchange Act—quite different from

all the countless instances in which information may be disclosed, via Twitter or otherwise.


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       Indeed, the 12:17 and 12:23 tweets did not include any information that Tesla would be

required to disclose under the securities laws. In the 12:17 tweet, Mr. Musk commented on a

hot-button political issue, then posed a question. 12:17 pm Tweet (“Much is made lately of

unrealized gains being a means of tax avoidance, so I propose selling 10% of my Tesla stock. Do

you support this?”). In the 12:23 tweet, Mr. Musk simply confirmed “I will abide by the results

of this poll, whichever way it goes.” 12:23 pm Tweet. A public poll is a way to gather

information; it is not a disclosure of information, much less information a company would have

to report in SEC filings. To the extent that the ultimate sale of the shares required that Mr. Musk

file a Form 4, that obligation fell on Mr. Musk personally, not on Tesla. In sum, Rule 13a-15 has

no conceivable application to the tweets in question.

       Lest there be any doubt, SEC guidance expressly provides that disclosure controls and

procedures requirements do not apply to online disclosures of information that are not

disclosures pursuant to the Exchange Act.        That is, the Commission itself recognizes that

disclosure controls and procedures are required only for Exchange Act reporting.                The

Commission’s Guidance on the Use of Company Web Sites, 73 Fed. Reg. 45862-01, 45873 at

*17 (Aug. 1, 2008), explains that companies may post Exchange Act disclosure information on

their websites instead of supplying it directly to the SEC. If they do so, disclosure controls and

procedures apply to that information, because “it is information required to be disclosed by the

company in Exchange Act reports.” Id. But “disclosure controls and procedures do not apply to

other disclosures of information on a company’s Web site.          This means that the principal

executive officer and principal financial officer will not be disclosing their conclusions regarding

the effectiveness of any controls that a company may have in place regarding its Web site




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disclosure of information, other than those controls with respect to information that is posted as

an alternative to being provided in an Exchange Act report.” Id. at 45874.

       The SEC’s history of enforcement under Rule 13a-15 confirms that the Rule applies

solely to weaknesses in controls or procedures that are tied directly to public SEC filings and/or a

dearth of company policies to guard against the risk of misrepresentations or omissions in those

filings. See, e.g., In the Matter of Altaba Inc., f/d/b/a Yahoo! Inc., at *8 (Yahoo violated Rule

13a-15 when it learned of a data breach and did not disclose the breach in its public filings for

nearly two years); SEC v. Facebook, Inc., 3:19-cv-04241, Dkt. No. 11 (N.D. Cal. Aug. 22, 2019)

(SEC alleged Facebook violated Rule 13a-15 with a misleading characterization of the risk of

misuse of users’ data in its 10-K and 10-Q filings following Facebook’s work with Cambridge

Analytica); In the Matter of First Am. Fin. Corp., Release No. 92176, at *6 (S.E.C., June 14,

2021) (First American violated Rule 13a-15 when it learned about a cybersecurity vulnerability

in its title and escrow document management software, but did not remedy the vulnerability

before a major data leak and failed to disclose the leak in its Form 8-K). The rule simply does

not apply to disclosures outside of public Exchange Act filings.

                       b)     The Commission’s Attempt To Recast Rule 13a-15 As A Tool
                              To Avoid Court Supervision Of The Consent Decree Is
                              Unpersuasive.

       In an attempt to justify its continued investigation of Mr. Musk’s constitutionally

protected speech without coming to this Court, the Commission turns to the argument that it may

investigate compliance with the consent decree under auspices of investigating Tesla’s

statements in SEC filings to the effect that Tesla is complying with the consent decree. That is,

the Commission believes it may invoke the securities laws to subpoena information from

Mr. Musk simply because Tesla has made statements about the consent decree in its 10-Qs and

10-Ks. Yet all Tesla has ever said in its filing is that it will “continue to comply with the terms
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and requirements of the settlement.” See, e.g., Tesla, Annual Report (Form 10-K) (Feb. 4, 2022)

at 26; Tesla, Quarterly Report (Form 10-Q) (Oct. 25, 2021) at 56; Tesla, Quarterly Report (Form

10-Q) (Jul. 27, 2021) at 56; Tesla, Quarterly Report (Form 10-Q) (Apr. 27, 2021) at 52; Tesla,

Annual Report (Form 10-K) (Feb. 8, 2021) at 25; Tesla, Annual Report (Form 10-K) (Feb. 13,

2020) at 31. That statement does not give rise to the SEC’s claimed authority to therefore

investigate any and all facts concerning Mr. Musk’s compliance with the decree.

       First, whether or not Tesla preapproved Mr. Musk’s tweet has nothing to do with Tesla’s

compliance with the consent decree in its matter, Tesla, Dkt. Nos. 3, 14. Indeed, the judgment

and amended judgment Tesla agreed to merely require the company to undertake certain tasks—

all of which were done years ago—including implement mandatory procedures and controls to

oversee Mr. Musk’s communications and require preapproval. Id. at 4. If Mr. Musk fails to seek

preapproval of a tweet, Tesla’s compliance is not impugned.

       Second, this amounts to a telling admission that the SEC believes it can make an end -run

around this Court and unilaterally investigate compliance specifically with this decree whenever

it feels the urge to do so, without ever checking with the Court. Indeed, the SEC’s theory of its

authority threatens to render meaningless the Court’s essential role in superintending its

decree. See Roberson v. Giuliani, 346 F.3d 75, 80 (2d Cir. 2003) (“[C]ourts have inherent power

to enforce the terms of such a decree because they constitute court orders.”); SEC v. Wheeling-

Pittsburgh Steel Corp., 648 F.2d 118, 125 (3d Cir. 1981) (observing that while “courts must not

interfere unduly in the administrative process . . . our primary concern is with the integrity of the

judicial process”). Because companies in Tesla’s position must regularly update investors on

their compliance efforts, the SEC is arrogating to itself unilateral, unchecked license to

investigate the particulars of consent-decree compliance however it pleases by the simple



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expedient of claiming to be investigating such compliance as set forth in one or another SEC

filing.

          In sum, Mr. Musk’s tweets at issue here are not Exchange Act financial reports—they

were a public poll, indeed, a question—and the SEC cannot properly invoke Rule 13a-15 to

monitor Mr. Musk’s Twitter activity based on the mere fact the consent decree is referenced in

SEC filings.

                 3.      The SEC Cannot Issue Administrative Subpoenas To Investigate
                         Compliance With The Judgments In This Case.

          Nor can the Commission invoke the consent decree itself as imbuing it with authority to

issue its own administrative subpoenas to investigate compliance. Your Honor’s previous orders

“retain jurisdiction of this matter for the purposes of enforcing the terms of the Final Judgment.”

ECF 47; see also ECF 14 (“[T]his Court shall retain jurisdiction of this matter for the purposes of

enforcing the terms of this Final Judgment.”). By specifically referring to the judgments in this

case in its subpoena to Tesla and seeking documents from Mr. Musk pertaining to review or pre -

approval of his tweets, the SEC seeks to circumvent the jurisdiction of this Court as it

unilaterally grasps for documents pertaining specially to the consent decree.

          The Commission may not use an administrative subpoena to investigate matters that

relate only to the consent decree and do not concern the securities laws. Were the Commission

able to bypass the limitations, discussed above, of Section 13(a) of the Exchange Act under the

mistaken assumption that every violation of a consent decree is a violation of the securities laws

themselves, it would render the concept of a court-supervised settlement a nullity.

          Moreover, agencies are not authorized to use their investigative power in aid of litigation

that has already commenced. See EEOC v. Hearst Corp., 103 F.3d 462 (5th Cir. 1997); EEOC v.

Federal Home Loan Mtg. Corp., 37 F. Supp. 2d 769, 772–74 (E.D. Va. 1999). In RTC v.


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Thornton, the D.C. Circuit stated clearly: “We must emphasize that a subpoena is a tool of

investigation.” 41 F.3d 1539, 1546 (D.C. Cir. 1994). Absent clear authorization from Congress

that an agency may use a tool in ongoing litigation, such authority would “bestow a power that

conflicts with two long-standing principles limiting the use of legal process to investigate, and

discover.” Id. Analogizing to the grand jury, the D.C. Circuit reasoned that the authority to

issue a subpoena in connection with litigation “conflicts with the general principle that an

investigation terminates once suit has been filed” and explained that “the [] far-reaching power

asserted by the RTC here—a power that effectively would allow the RTC to use subpoenas in aid

of ongoing litigation—is utterly foreign to the law defining the traditional scope of investigative

authority.” Id. at 1546–47 (collecting cases). See also SEC Div. of Enforcement, Enforcement

Manual 3.1.3, at 33 (“[S]taff should not use investigative subpoenas solely to conduct discovery

with respect to claims alleged in the pending complaint. A court might conclude that the use of

investigative subpoenas solely to conduct discovery is a misuse of the SEC’s investigative

powers and circumvents the court’s authority and the limits on discovery in the Federal Rules of

Civil Procedure.”).

       The Commission itself recognized that this Court, not the agency, wields ongoing

authority to monitor compliance with the consent decree when, in 2019, the Commission

submitted briefing to this Court under the heading “Authority to Enforce [The Consent] Order Is

Vested with the Court, Not the SEC.”           ECF 30 at 13.        The Commission continued,

“[e]nforcement of the provisions of the Court’s order does not depend on the SEC’s statutory

authority to bring injunctive action or on any authority of the SEC at all. Rather, this Court has

broad equitable powers to enforce the terms of its order . . . .” Id. (collecting sources). Nothing

has changed between 2019, when the SEC relied on this Court’s authority to enforce the consent



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decree rather than its statutory authority, and now, when it seeks to enforce the decree without so

much as apprising the Court.

       The Supreme Court has made clear that “[f]ederal courts are not reduced to approving

consent decrees and hoping for compliance. Once entered, a consent decree may be enforced.”

Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 440 (2004). In 2007, the Ninth Circuit properly

rebuffed an attempt by the Veterans’ Affairs agency to enforce terms of a consent decree by

regulation because it divested the district court of jurisdiction. Nehmer v. U.S. Dep't of Veterans

Affs., 494 F.3d 846, 860 (9th Cir. 2007). Explaining that a district court has “inherent authority”

over a consent decree it has issued, such jurisdiction “presupposes that it, and not a party before

it, is the principal and proper arbiter with the responsibility to interpret the decree and oversee

the litigation. Although a party may ask the district court to issue an order clarifying, enforcing,

or modifying a decree and suggest a favored interpretation, a party—whether a private or public

entity—cannot dictate the meaning of the decree to the court or relieve itself of its obligations

under the decree without the district court’s approval.” Id. (collecting cases).

       To the extent Mr. Musk remains bound by the terms of the consent decree, so should the

SEC. If the SEC seeks information about Mr. Musk’s compliance, it must come before Your

Honor rather than pursue an end-run around the jurisdiction of this Court through improper

administrative subpoenas. Because it has not done so, and because it may not “conduct any

investigation it may conjure up,” United States v. Constr. Prod. Rsch., Inc., 73 F.3d 464, 471 (2d

Cir. 1996), the Challenged Requests should be quashed.

       B.      The Challenged Requests Should Be Quashed Because The Subpoena Was
               Issued In Bad Faith.

       The motion to quash should further be granted because the subpoena was issued in bad

faith by the SEC.      This bad faith is evidenced by the long string of investigations into


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Mr. Musk’s online speech. “[W]hile the SEC is entitled to great freedom in conducting its

investigations, it is not at liberty to act unreasonably, and in appropriate circumstances the cou rt

may inquire into the reasons for an investigation and into its effects. For example, if a subpoena

were not issued in good faith but to harass or pressure the subject of an investigation, or for any

other improper purpose, then the court would be bound not to enforce the subpoena as issued.”

Brigadoon Scotch Distrib. Co., 480 F.2d at 1056; see also Wheeling-Pittsburgh Steel Corp., 648

F.2d at 125 (“[T]he presence of SEC bad faith is only one of several possible reasons for the

ultimate conclusion; a determination that the court’s process would be abused if the subpoena

were to be enforced is the ultimate conclusion.”); Ayers v. SEC, 482 F.Supp. 747, 751 (D. Mont.

1980) (“While recognizing that the SEC has great latitude and freedom from undue judicial

interference in conducting agency investigations, the agency discretion is not unfettered.” ).

Indeed, “[a] court may quash an administrative subpoena if the target demonstrates that the

subpoena was issued in bad faith—to harass, to pressure the person subject to investigation, or

for some other ‘improper purposes.’” Grenda v. SEC, 2017 WL 4053821, at *2 (W.D.N.Y. Sept.

14, 2017) (quoting Brigadoon Scotch Distrib., 480 F.2d at 1056).

       Improper purposes are evident here and the SEC’s pursuit of Mr. Musk has crossed the

line into harassment, which is quintessential bad faith. Over the past four years, the SEC has

engaged in successive investigations of Mr. Musk and his tweets without cease. Below is a brief

summary of the SEC’s hovering attention to Mr. Musk’s online speech:

       •   August 7, 2018: Subpoena to Tesla regarding August 7, 2018 Take Private
           tweet (SF-4082)

       •   August 9 and 15, 2018: Subpoena to Musk and other individuals regarding the
           August 7, 2018 Take Private tweet (SF-4082)

       •   September 27, 2018: Complaint filed in SEC v. Musk, 1-18-cv-8865-AJN

       •   September 29, 2018: Complaint filed in SEC v. Tesla, 1-18-cv-8947-AJN
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             * October 16, 2018: Final Judgment on Consent Decree in Musk and Tesla,
               settling Take Private Investigation (SF-4082)

       •     February 26, 2018: SEC correspondence to Tesla expressing concerns with
             compliance with the Final Judgment

             * April 30, 2019: Amended Final Judgment on Consent Decree in Musk and
               Tesla (SF-4082)

       •     December 4, 2019: Take Private Investigation terminated (SF-4082)

       •     May 1, 2020: Voluntary subpoena to Tesla regarding SEC v. Tesla, 1-18-cv-
             8947-AJN

       •     May 14, 2020: Document retention request to Tesla regarding tweets and the
             Disclosure Controls Committee

       •     November 16, 2021: Investigation opened regarding November 6, 2021 Stock
             Sale Poll Tweet (SF-4496)

       •     November 16, 2021: Subpoena to Tesla regarding Stock Sale Poll (SF-4496)

       •     November 29, 2021: Subpoena to Elon Musk and others regarding Stock Sale
             Poll (SF-4496)

       The sheer number of these demands raises an inference that the SEC is targeting

Mr. Musk and acting in bad faith. And the pattern of demands is similarly telling, reflecting the

Commission’s bottomless appetite for pursuing Mr. Musk while lacking any evidence that

Mr. Musk violated the securities laws.3 The SEC was not satisfied when Mr. Musk agreed to

settle the investigation that led to the first judgment in this case, or when Mr. Musk agreed to

settle the investigation that led to the amended judgment in this case. Instead, the SEC has used

its subpoena power to continue investigating matters that were subject to settlements, and then

serially to start new investigations with no end in sight. As discussed supra at 14–15, the former

       3   See Exhibit E (Letter from A. Spiro to S. Buchholz (May 22, 2020)) (“In the end, the
current dispute appears to be nothing more than yet another attempt to harass Tesla and silence
Mr. Musk. Over the course of many years, SEC investigations have overlapped endlessly with
one another such that there has been no reprieve from the SEC’s intense, and meritless, focus on
Mr. Musk and his businesses. The serial nature of these investigations leaves us gravely
concerned that the SEC is targeting Mr. Musk for an improper purpose.”).

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is impermissible; the SEC may not use an administrative subpoenas to investigate a matter once

litigation has been brought. And the latter is still amounts to bad faith prohibited by law.4

       The SEC has offered no indication that it will subside from its campaign against

Mr. Musk absent judicial intervention. It falls to courts to check such governmental abuses, as

they have in the past. See generally United States v. Fensterwald, 553 F.2d 231, 232 (D.C. Cir.

1977) (authorizing limited discovery in light of allegations of agency bad faith); Int’l Waste

Controls, Inc. v. SEC, 362 F. Supp. 117, 120 (S.D.N.Y. 1973) (finding jurisdiction to enjoin SEC

investigations predicated on allegations that the SEC “has plainly exceeded its statutory authority

or threatens irreparable injury in clear violation of an individual’s rights”).

       As detailed above, whether and how Mr. Musk’s tweets were pre-screened does not bear

on his or Tesla’s compliance with securities laws.           The SEC is heedlessly intruding on

Mr. Musk’s privacy and into the companies’ affairs, a pattern of behavior that shows no sign of




       4     The SEC’s bad faith toward Mr. Musk and Tesla is further evidenced by the
Commission’s leak to the media of information regarding its investigation. As explained in
counsel’s February 21, 2022 letter to this Court, after counsel filed the February 17, 2022 letter
to this Court regarding the Commission’s conduct, at least one member of the SEC staff
responded by leaking to the press certain information regarding its investigation. In the wake of
that, Mr. Musk and Tesla sought “on-the-record assurance that the Commission has not leaked
investigative details in violation of its own rules and policies, and is otherwise acting in
accordance with the law.” Dkt. No. 64 at 2–3.
        In the week since, the SEC has provided no such assurance, nor has the Commission
made any attempt to deny it leaked information about its investigation. By letter dated February
19, 2022, we respectfully requested that specific SEC staff members preserve their records and
devices. We also reported the matter to the SEC Office of Inspector General. Still, we have
received no denial of the leak.
        On February 24, 2022, this Court denied Mr. Musk and Tesla’s request for intervention.
One hour later, the Wall Street Journal ran an article titled, “SEC Probes Trading by Elon Musk
and Brother in Wake of Tesla CEO’s Sales,” based on the leaked information. See Dave
Michaels, SEC Probes Trading by Elon Musk and Brother in Wake of Tesla CEO’s Sales, Wall
St. J. (Feb. 24, 2022 2:22 pm ET), https://www.wsj.com/articles/sec-probes-trading-by-elon-
musk-and-brother-in-wake-of-tesla-ceos-sales-11645730528.
        Retaliation of this nature is impermissible and further evidence of bad faith.
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abatement. The SEC’s vendetta against Mr. Musk should be put to a stop, and Mr. Musk

respectfully requests that this Court quash the Challenged Requests.

       C.      The Consent Decree Should Be Terminated Or At Least Modified.

       Even assuming arguendo that the judgments in this case could conceivably support the

Challenged Requests, the consent decree should be terminated. The equities strongly favor

terminating the consent decree, which intrudes on Mr. Musk’s First Amendment right to be free

of prior restraints and has been misused to launch endless, boundless investigation of his speech.

At a minimum, the consent decree should be modified to remove the prior restraint on

Mr. Musk’s speech.

       “Rufo teaches that the power of a court to modify or terminate a consent decree is, at

bottom, guided by equitable considerations.” United States v. Eastman Kodak Co., 63 F.3d 95,

101 (2d Cir. 1995). That is, a party may seek to modify or terminate a consent decree by

demonstrating “a significant change in circumstances.” Id. (citing Rufo, 502 U.S. at 383 n.7;

F.R.C.P. 60(b)(5)). Rufo further provides “a number of situations that may constitute a showing

of changed circumstances, including: where changed factual conditions make compliance with

the decree ‘substantially more onerous’; where the decree proves unworkable because of

unforeseen obstacles; or where enforcement of the decree would be detrimental to the public

interest.” Eastman Kodak, 64 F.3d at 101 n.3 (citing Rufo, 502 U.S. at 383 n.7).

               1.     The SEC’s Exploitation Of The Consent Decree Has Made
                      Compliance Onerous And Unworkable.

       The SEC’s conduct under the auspices of the consent decree threatens to invite more and

more governmental abuse moving forward. As the SEC has understood the consent decree and

its ability to issue administrative subpoenas thereunder, it has assumed powers it would not

otherwise have and used those powers to conduct never-ending investigations. As detailed


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above, Mr. Musk and companies in which he holds leadership roles or financial stakes have been

subject to one investigation after another, accompanied by round after round of demands for

voluminous, costly document productions, with no signs of abatement. This pattern continues

despite extensive prior cooperation by Mr. Musk, and despite the absence of any evidence of any

securities law violation. Compliance with improper document requests and now this subpoena

has become substantially more onerous—and indeed utterly impractical—than the settlement to

which the parties consented. The SEC’s failure to uphold its side of the bargain alone provides

sufficient basis to terminate or modify the decree. Rufo, 502 U.S. at 383 n.7. Mr. Musk entered

into the consent decree on the understanding it would establish peace and keep the Commission

within reasonable, principled bounds.       Certainly there was no expectation that this Court’s

oversight would disappear even while the Court’s orders and judgments were specially leveraged

by the SEC, or that the SEC would be resolved to harass Mr. Musk without check.

               2.      The SEC Has Used The Consent Decree To Police First Amendment
                       Speech.

       Enforcement of the decree in the present circumstances also poses a grave threat to

Mr. Musk’s First Amendment rights.          Courts are especially attentive “when a party seeks

modification of a . . . consent decree that arguably relates to vindication of a constitutional right,”

Rufo, 502 U.S. at 383 n. 7, and “it is always in the public interest to protect constitutional rights,”

Carson v. Simon, 978 F.3d 1051, 1061 (8th Cir. 2020) (citation omitted).

       Mr. Musk’s tweets are, of course, protected speech. Packingham v. North Carolina, 137

S. Ct. 1730, 1735–36 (2017) (“[S]ocial media users employ these websites to engage in a wide

array of protected First Amendment activity on topics as diverse as human thought.”); In re

Anonymous Online Speakers, 661 F.3d 1168, 1173 (9th Cir. 2011) (“Although the Internet is the

latest platform for anonymous speech, online speech stands on the same footing as other


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speech—there is ‘no basis for qualifying the level of First Amendment scrutiny that should be

applied’ to online speech.”5

       When Mr. Musk and the SEC entered into the consent decree, important constitutional

questions about the imposition of prior restraints and the chilling effect of government-mandated

preauthorization were placed to one side. We are aware of no other consent decree that calls for

the imposition of a government-sanctioned monitor who can dictate precisely what Mr. Musk

does or does not say. See, e.g., United States v. Quattrone, 402 F.3d 304, 310 (2d Cir. 2005)

(Sotomayor, J.) (“Any imposition of a prior restraint . . . bears ‘a heavy presumption against its

constitutional validity.’”) (quoting Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70 (1963)); see

also Dkt. No. 27 at 20–25. In this sense, the peculiar contours and concerns of the consent

decree make it especially problematic and susceptible to abuse.

       Over the course of the past four years, the Commission has doubled down on its prior

attempts to control Mr. Musk’s speech. It has done so without any ostensible regard for core

First Amendment rights, amidst heavy-handed investigation that seems destined, and perhaps

calculated, to chill exercise of those rights. Unlike other consent decrees, the SEC interprets the

agreement in this case to permit it to micro-manage Mr. Musk’s Twitter activity. Indeed, the

SEC believes it may police speech that falls outside the bounds of Section 10(b) of the Securities

Exchange Act of 1934, which prohibits fraud in the purchase or sale of securities and statements

or omissions of material fact, 15 U.S.C. § 78j(b). But any attempt to censor speech that is not


       5   Mr. Musk has more than 75-million followers on Twitter. Indeed, a recent article by
Time Magazine referenced Mr. Musk’s tweets half a dozen times and quoted a source’s
observation that, “He’s probably the most viral social influencer ever.” Molly Ball, Jeffrey
Kluger & Alejandro De La Garza, 2021 Person of the Year: Elon Musk, Time (Dec. 13, 2021),
https://time.com/person-of-the-year-2021-elon-musk/. Government attempts to shut down
individuals’ speech are always wrong, but attempts to limit the speech of public figures such as
Mr. Musk are also undoubtedly detrimental to the public interest. Rufo, 502 U.S. at 383 n.7.

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and cannot be considered fraudulent or otherwise violative of the securities laws impermissibly

infringes on First Amendment rights.

       The 12:17 and 12:23 tweets illustrate this point. Mr. Musk’s poll is not a statement or

omission of material fact or a scheme to defraud. If anything, it is behavior the SEC should

encourage: a CEO’s transparency with the public and shareholders about a proposed stock sale.

       Of course, Mr. Musk is an outspoken and much-followed critic of the government

generally, and the SEC specifically; it should not be lost on anyone that the SEC has shown a

preoccupation with investigating Mr. Musk for what he tweets at the SEC’s expense. 6

       To the extent that the SEC is exploiting the consent decree to punish protected expression

that rubs it wrong, such retaliation is patently unconstitutional. “The constitutional right of free

expression is . . . designed and intended to remove governmental restraints from the arena of

public discussion, putting the decision as to what views shall be voiced largely into the hands of

each of us”—not into the hands of the Securities and Exchange Commission.                 Cohen v.

California, 403 U.S. 15, 24 (1971).

       The consent decree should be terminated, or, at a minimum, the Court should modify the

consent decree to remove the prior restraint on Mr. Musk’s speech. If the SEC wants this Court

to maintain authority over Mr. Musk’s conduct, it can do so through the injunction it entered


       6       See, e.g., Elon Musk (@elonmusk), Twitter (Oct. 4, 2018, 1:16 pm PT),
https://twitter.com/elonmusk/status/1047943670350020608 (“Just want to [note] that the
Shortseller Enrichment Commission is doing incredible work. And the name change is so on
point!”); Elon Musk (@elonmusk), Twitter (Feb. 26, 2019, 4:25 am PT),
https://twitter.com/elonmusk/status/1100371207491248128 (“Something is broken with SEC
oversight.”); Elon Musk (@elonmusk), Twitter (July 2, 2020, 11:50 am PT),
https://twitter.com/elonmusk/status/1278762916326649863 (“Will send some to the Shortseller
Enrichment Commission to comfort them through these difficult times”); Elon Musk
(@elonmusk),           Twitter      (July     2,     2020,       11:57        am       PT),
https://twitter.com/elonmusk/status/1278764736876773383 (“SEC, three letter acronym, middle
word is Elon’s”).

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prohibiting Mr. Musk from violating Section 10(b). Mr. Musk is willing (and the federal

securities laws otherwise require him) to abide by the Court’s injunction.

               3.     The Equities Strongly Favor Termination.

       The circumstances under which Mr. Musk was forced to sign the consent decree only

compound the inequitable nature of the present arrangement. A consent decree has attributes of

both a contract and a judicial act and is essentially “‘a settlement agreement subject to continued

judicial policing.’” Lorain NAACP v. Lorain Bd. of Educ., 979 F.2d 1141, 1148 (6th Cir. 1992),

cert. denied, 509 U.S. 905 (1993); see also EEOC. v. Loc. 40, Int’l Ass’n of Bridge, Structural &

Ornamental Iron Workers, Joint Apprenticeship Comm., Iron Workers Locs. 40 & 361 & Allied

Bldg. Metal Indus., 76 F.3d 76, 79 (2d Cir. 1996) (“Consent decrees are interpreted according to

principles of contract law.”). Because consent decrees are also contracts negotiated by the

parties, state law claims such as “mutual mistake, fraud, misrepresentation, etc.” may also serve

as a basis for modification. See Waste Mgmt. of Ohio, Inc. v. City of Dayton, 132 F.3d 1142,

1146 n.4 (6th Cir. 1997); see also Mallory v. Eyrich, 922 F.2d 1273, 1280 (6th Cir. 1991)

(mutual mistake of fact may warrant relief from consent decree).

       At the time Mr. Musk signed the consent in this case, Tesla was in no position to weather

a fight with the SEC. Mr. Musk felt “forced to sign the consent decree in 2018. Tesla was a less

mature company and the SEC’s action stood to jeopardize the company’s financing. Defending

against the SEC’s action through protracted litigation was not in the interests of the company and

its shareholders.” Declaration of Elon Musk at ¶ 4. Mr. Musk “wanted to settle to help Tesla,

but [he] did not wish to cause harm to the other companies,” which would have been inevitable

absent a settlement because the SEC’s allegation risked the companies’ “future ability to raise

money through Regulation D offerings.” Id.at ¶¶ 5–6. In that posture, Mr. Musk “entered into

the consent decree for the immediate survival of Tesla.” Id. at ¶ 8.
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       “Under California law, economic duress can serve as a basis for invalidating a release or

waiver.” U.S. for Use and Benefit of Reed v. Callahan, 884 F.2d 1180, 1184 (9th Cir. 1989)

(applying California law); see also Kaufman and Broad-South Bay v. Unisys Corp., 822 F.Supp.

1468, 1475 (N.D. Cal. 1993). Economic duress is an equitable doctrine which “come[s] into

play upon the doing of a wrongful act which is sufficiently coercive to cause a reasonably

prudent person faced with no reasonable alternative to succumb to the perpetrator’s pressure.”

Rich & Whillock, Inc. v. Ashton Dev., Inc., 157 Cal.App.3d 1154, 1158 (1984); accord

Philippine Export v. Chuidian, 218 Cal.App.3d 1058 (1990). For Mr. Musk, “the only other

alternative [was] financial ruin” for Tesla and other companies in which Mr. Musk holds

leadership roles or financial stakes, and that was simply not a consequence he could force on the

shareholders. Consumer Health Info. Corp. v. Amylin Pharms., Inc., 54 F. Supp. 3d 1001, 1006

(S.D. Ind. 2014), aff'd, 819 F.3d 992 (7th Cir. 2016).

       In 2018, the SEC took advantage of the position in which it put Mr. Musk. Ever since,

the SEC has used the consent decree to repeatedly target Mr. Musk’s First Amendment activity

for governmental investigation and to thereby chill his expression. Therefore, Mr. Musk

respectfully requests that this Court terminate the consent decree, or at the least modify the

decree consistent with the First Amendment rights and principles at stake, and monitor the SEC’s

further enforcement efforts under it.

V.     CONCLUSION

       For the foregoing reasons, Elon Musk, by and through his undersigned attorney,

respectfully requests that this Court grant his motion quash the Challenged Requests and to

terminate the consent decree.




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Dated: New York, New York                   Respectfully submitted,
       March 8, 2022
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                                            Alex Spiro
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                                 CERTIFICATE OF SERVICE
       I hereby certify that I caused the foregoing Motion to be filed with the Court’s CM/ECF

system this 8th day of March, 2022, thereby causing it to be served on all counsel of record.




Dated: New York, New York                           Respectfully submitted,
       March 8, 2022
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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK




UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

          Plaintiff,
     v.                                Civil Action No. 1:18-cv-08865-AJN

ELON MUSK,

          Defendant.



      DEFENDANT ELON MUSK’S REPLY IN FURTHER SUPPORT OF HIS
         MOTION TO QUASH & TO TERMINATE CONSENT DECREE




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I.     INTRODUCTION
       The SEC argues that it has unfettered authority to subpoena whatever it wants, whenever

it wants, so long as it obtains a formal order. But the SEC’s investigatory power has limits,

especially once, as here, it is leveraging a binding order specially entered and superintended by

this Court. The SEC seeks to justify its misconduct by relying on Rule 13a-15—a circumscribed

rule that does not govern the conduct it is investigating: Mr. Musk’s tweets. And the Second

Circuit’s binding precedent in Crosby v. Bradstreet Co., 312 F.2d 483 (2d Cir. 1963), requires

that the Court either terminate the consent decree or, at minimum, strike the constitutionally

overbroad prior restraint on Mr. Musk’s speech.

II.    THE CHALLENGED REQUESTS SHOULD BE QUASHED.
       A.     This Court Has Jurisdiction Over The Challenged Requests.
       This Court plainly has jurisdiction over its judgments; the SEC’s arguments to the

contrary only seek to circumvent this Court’s authority and directly police Mr. Musk’s speech

without answering to the one tribunal uniquely positioned to adjudicate disputes between these

parties, over these issues. Dkt. No. 71 (“Mot.”) at 1–2; see also Dkt. No. 65 (providing Mr.

Musk may make a motion to quash). As this Court knows, the SEC entered into a bilateral,

ongoing consent decree that this Court approved and continues to superintend between the

parties. Thereafter, the SEC ran to this Court seeking relief when it believed that Mr. Musk did

not comply with Tesla’s disclosure controls, alleging a violation of the consent decree. See Dkt.

No. 18. Now, the SEC is telling the Court that it lacks jurisdiction over the same claim. The

SEC’s actions are nothing more than improper forum shopping.

       In its response, the SEC glaringly omits that its subpoenas specifically cite “the final

judgment or amended final judgment in S.E.C v. Musk, 1:18-cv-8865-AJN (S.D.N.Y.)” and “the

final judgment or amended final judgment in S.E.C v. Tesla, 1:18-cv-8947-AJN (S.D.N.Y.).”



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See Mot. at 3; see also infra at 3–4 (SEC’s misrepresentations of its subpoenas). Notably,

Mr. Musk has not asked this Court to quash the portions of the subpoena unrelated to the consent

decree. He merely seeks relief that this Court is specially situated to provide: supervision over a

party to a consent decree issued by this Court. The SEC should no more be able to dodge such

supervision than Mr. Musk can.

       Further, the SEC provides no support for the jurisdictional bar it seeks to impose on pre -

enforcement challenges to SEC subpoenas. The cases cited by the Commission pertaining to

sovereign immunity are legally and factually inapposite. None involved the enforcement of a

court-ordered consent decree; rather, all involved complaints alleging affirmative claims for

abuse of process by the SEC and demanding declaratory and injunctive relief, as well as

monetary damages. Dkt. No. 78 (“Resp.”) at 5–6. Mr. Musk has not filed a complaint against

the SEC nor sought monetary damages, and there is no question of sovereign immunity because

the SEC voluntarily selected this Court as the forum for its suit when it could have filed an

administrative proceeding.     The SEC also filed the joint request for this Court to retain

jurisdiction. Dkt. No. 13. Even outside the consent decree context, courts have considered

motions to quash pre-enforcement administrative subpoenas on the merits, particularly when

third-party rights are concerned, as here.1 See, e.g., Grenda v. S.E.C., 2017 WL 4053821, at *2

(W.D.N.Y. Sept. 14, 2017); Hampton v. S.E.C., 2018 WL 4853902, at *6 (D.D.C. Oct. 5, 2018);

Lerman v. S.E.C., 928 F. Supp. 2d 798, 805 (S.D.N.Y. 2013).2

       Prudential concerns further support this Court’s exercise of jurisdiction. It makes little

sense to require that Mr. Musk “wait-and-see” if the SEC initiates a Section 78u(c) proceeding in


       1   Mr. Musk is a party to the consent decree, but he is a third-party subpoena recipient.
       2  Unless otherwise indicated, this brief omits from quotations and citations all internal
quotation marks, footnotes, and citations.


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in this Court or in another,3 and potentially litigate a venue transfer motion, all for this issue to be

re-briefed and decided in a posture substantively identical to the current one. See Exxon Mobil

Corp. v. Schneiderman, 316 F. Supp. 3d 679, 696 (S.D.N.Y. 2018) (declining to exercise

prudential ripeness doctrine and ruling on motion to quash pre-enforcement subpoena where

party had been producing documents in connection with prior subpoenas).

        B.       The Challenged Requests Have No Legitimate Investigatory Purpose.
        The Commission offers roving references to its broad authority under the Formal Orde r,

Rule 13a-15, and the judgment and amended judgment in this case to justify the Challenged

Requests. But those authorities are each specific and bounded, and none—together or apart—

supply the Commission the legitimate investigatory purpose required under law.

                 1.     The Formal Order Is Not Carte Blanche For Investigation Of
                        Compliance With The Consent Decree.
        The Commission relies heavily on the Formal Order as legal basis for the Challenged

Requests. See, e.g., Resp. at 7; see also id. at 4–6, 9–10, 16. But the Formal Order is not itself

evidence of the legitimacy of the subpoena, no matter how many times the Commission notes its

existence. See Mot. at 8–9; United States v. Constr. Prod. Rsch., Inc., 73 F.3d 464, 471 (2d Cir.

1996) (rejecting idea that “an agency may conduct any investigation it may conjure up”); RNR

Enters., Inc. v. S.E.C., 122 F.3d 93, 97 (2d Cir. 1997) (inquiring whether the formal order

reflects a legitimate investigatory purpose). The Formal Order is not an open invitation for any

fishing expedition the Commission may wish to pursue, and the Commission errs in assuming

that a court may not look behind its veil.

        To that end, the SEC twice denies that “its subpoenas are issued under the consent

decree,” instead stating unequivocally “the subpoenas were issued under the authority granted by


        3    When asked, the SEC would not commit to bring such an action before Your Honor.


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the Formal Order of Investigation.” Resp. at 5 n.2; see also id. at 16. To support that claim, the

SEC points out that the Musk and Tesla subpoenas “refer to” the Formal Order, and “do not bear

the caption for S.E.C v. Musk or S.E.C v. Tesla.” Resp. at 4. While it may be strictly true that

this case caption is not at the top of the Tesla subpoena, that subpoena twice asks for documents

related to compliance with “the final judgment or amended final judgment in SEC v. Musk, 1:18-

cv-8865-AJN (S.D.N.Y.).” Mot. at 3. It should suffice to note that the SEC is expressly trading

off consent-decree provisions that are presided over by the very same Court that the SEC is

claiming unfettered prerogatives to circumvent. Any such theory of this Court’s authority —by

which the SEC can leverage it without answering to it—is untenable.

               2.     Rule 13a-15 Does Not Give The SEC Unbridled License To Investigate
                      Any And All Executive Communications.
       The SEC pairs recitations to the Formal Order with similarly unsupported reliance on

Rule 13a-15. The SEC has no authority for its naked assertion that a securities rule that governs

after-the-fact disclosures in SEC filings also requires pre-approval of tweets.

       First, the SEC argues a point of first-impression, that to comply with the disclosure

controls and procedure requirements of Rule 13a-15, a company must pre-approve its

executives’ tweets. The SEC does not cite the Rule itself for this proposition; nor could it.

There is no support in law for the Commission’s propositions that (1) the rule requires pre -

approvals of any kind, as opposed to after-the-fact disclosures of material information, or (2) a

tweet constitutes a disclosure similar to an 8-K, 10-K, or 10-Q filing. Mot. at 9–13.4 Even the

SEC’s guidance makes clear that only a narrow set of executive communications fall under the


       4    See also SEC Release No. 33-8124, Certification of Disclosure in Companies’
Quarterly and Annual Reports (2002), available at https://www.sec.gov/rules/final/33-8124.htm
(Rule 13a-15 was “intended to address the issuer’s controls and procedures for recording,
processing[,] summarizing and reporting the information that is required to be disclosed in
Exchange Act reports.”).


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purview of a company’s Rule 13a-15 disclosure controls—namely, those that are required in an

Exchange Act report. See Commission’s Guidance on the Use of Company Web Sites, 73 Fed.

Reg. 45862-01, 45873-74 (Aug. 7, 2008) (listing examples of communications that may require

an Exchange Act report, such as company’s waiver of its code of ethics or board policy on

director attendance at the annual meeting).

       The SEC instead cites the Amended Judgment in this case, which requires pre-approval

of certain types of executive communications. Indeed, that is only further evidence that the SEC

seeks to investigate compliance with the consent decree, not Rule 13a-15. To the extent that the

Commission seeks to rely on the Complaint in S.E.C v. Tesla and In the Matter of Nikola Corp.,

Release No. 93838 (Dec. 21, 2021), those were settled matters that carry no precedential legal

value; the SEC’s theory that Rule 13a-15 covers tweets has never actually been resolved. In any

event, the misconduct alleged in those cases—material misrepresentations—differs categorically

from the communication at issue here, a Twitter poll. See generally Mot. at 11, 13–14.

       Second, the SEC argues that Tesla’s representations in its 10-Ks and 10-Qs provide basis

for investigation. The SEC overstates Tesla’s representations, see Mot. at 12–13, and again

attempts to blur the distinction between Rule 13a-15 and the consent decree. Rule 13a-15

requires that Tesla make certain disclosures in Commission filings. Distinctly, the consent

decree concerns pre-clearance of certain executive communications, including Mr. Musk’s

tweets, by Tesla’s securities counsel. After a tweet is published (pre-approved or not), the SEC’s

only germane concern under Rule 13a-15 should be whether obligatory information is disclosed.5

But nowhere in its brief does the SEC cite a single example of a communication (e.g., a tweet)


       5    Under Rule 13a-15, the touchstone inquiry for whether a filing is necessary is
materiality. In contrast, the Amended Judgment does not contain a materiality requirement and
encompasses a broader category of information than what is covered under the Rule.


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by Mr. Musk that contained information that Tesla was required to separately disclose in a filing

with the Commission and did not—the crux of a Rule 13a-15 analysis.6 And the SEC does not

actually allege that the tweets it complains about independently violate securities laws. Instead,

the SEC has based its investigation on whether or not tweets were pre-approved—a question that

distinctly concerns the consent decree and not Rule 13a-15.

       To the extent the SEC cites Grenda v. S.E.C. to suggest that it has the power to issue

subpoenas and investigate whether a party is complying with a settlement—without any

independent violation of the securities laws—that case is inapposite because it concerned a

settlement in an SEC administrative proceeding and therefore did not implicate the ongoing

supervisory authority of a federal court. Resp. at 10, 2017 WL 4053821, at *1. As discussed at

length in the principal brief, the SEC may not make an end-run around this Court’s supervision.

Mot. at 12–16.

       Nor has the SEC actually cited any support for its contention that the consent decree

“require[s] Tesla to . . . ensure that Musk actually complies with—the company’s new mandatory

controls and procedures.” Resp. at 9. Tesla is in fact complying with its obligations to institute

disclosure controls. See Mot. at 13. That the Commission prefers to substitute its judgment for

that of the independent directors whom the SEC approved to monitor disclosure controls says

nothing about what the consent decree itself mandates. 7

       C.       The Subpoena Was Issued In Bad Faith.
       The SEC reverts to claims of its purported broad authority in response to Mr. Musk’s

well-grounded claims of harassment. What the Commission calls “new instances of conduct . . .

       6    See Tesla, Dkt. 3-1 ¶ 6(c) (requiring Tesla securities counsel to make appropriate SEC
filings following communications).
       7See Tesla, Dkt. 3-1 ¶ 6(b) (requiring committee oversight of the judgment, “the charter
and composition of [which] is subject to review and approval by the staff of the Commission”).


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that could implicate the federal securities laws,” Resp. at 11, are nothing more than Mr. Musk’s

tweets of a truthful fact, an aspiration, an opinion, and a question—not material

misrepresentations or fraud.      Nor does the Commission address its leak of non -public

information about this investigation, which alone speaks volumes about the SEC’s bad faith

conduct toward Mr. Musk. See Mot. at 19 n.4.

III.   THE CONSENT DECREE SHOULD BE VACATED.
       Mr. Musk’s arguments for vacatur of the consent decree are only further vindicated by

the Commission’s response to his motion. The SEC has advanced its investigations without

regard for Mr. Musk’s constitutional rights, the limits of its authority under Rule 13a-15, or the

circumstances under which Mr. Musk signed the decree.

       A.       The Consent Decree Violates The First Amendment.
       The Commission first attempts to evade scrutiny for its unconstitutional restraint on

Mr. Musk’s speech by arguing that an SEC-designed, court-enforced agreement involves no state

action merely because the Commission has deputized a Tesla securities lawyer to pre-approve

Mr. Musk’s tweets. But it is irrelevant whom the SEC has tasked with this duty; Mr. Musk’s

speech is restrained as a result of the SEC’s prosecution just the same. See Blum v. Yaretsky, 457

U.S. 991, 1004–05 (1982) (state action can be found where the state exercises coercive power on

the private actor, provides “significant encouragement”, or transfers into private hands

traditionally state powers); Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922, 937 (1982) (“[T]he

conduct allegedly causing the deprivation of a federal right [is] fairly attributable to the State.”).

       Next, the SEC again oversteps by claiming that, just because Mr. Musk agreed to the

judgment and amended judgment in this case,8 that he waived any right to challenge the SEC’s


       8     In fact, Mr. Musk was not represented by counsel at the time of the amended
judgment.


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subsequent abuse of the settlement. The Commission misplaces reliance on S.E.C v. Romeril, 15

F.4th 166 (2d Cir. 2021), which created a deep intra-circuit split and is the subject of a currently

pending petition for certiorari. But Crosby v. Bradstreet Co., 312 F.2d 483, in which the Second

Circuit vacated a consent decree on First Amendment grounds, remains the controlling law in

this Circuit. See In re Zarnel, 619 F.3d 156, 168 (2d Cir. 2010) (law of the circuit rule). In

Crosby, the Second Circuit held:

       with the power of a court of the United States to enjoin publication of information about a
       person, without regard to truth, falsity, or defamatory character of that information. Such
       an injunction, enforceable through the contempt power, constitutes a prior restraint by the
       United States against the publication of facts which the community has a right to know
       and which [plaintiff] had and has the right to publish. The court was without power to
       make such an order; that the parties may have agreed to it is immaterial.

Id. at 485 (emphasis added).

       Notwithstanding, Mr. Romeril has asked the Supreme Court to resolve this split, correctly

explaining that there is little more offensive to the First Amendment than a content-based

lifetime ban on wholly truthful speech.9 Romeril, 15 F.4th 166, petition for cert. filed, (U.S. Mar.

23, 2022) (No. 21-1284) (collecting cases holding courts lack power to enforce prior restraints

and content and viewpoint-based speech restrictions as settlement conditions, even when entered

with consent). Further, the broad swath of speech subject to pre-approval, and the SEC’s

continuing and harassing investigation of Mr. Musk’s compliance with its prior restraint, raise

additional concerns beyond the no-admit-no-deny gag order at issue in Romeril.

       The First Amendment requires that agencies proceed with caution when constitutional

rights are at stake, not seek to pursue any and all novel theories that broaden their authority at the

       9    See generally Ex. E to Mot. The intermittent nature of the SEC’s harassment
underscores the judgment’s chilling effect because it is impossible to know ex ante what tweets
will raise the Commission’s ire. Even the SEC seems unsure of what tweets require
preclearance, leaving only two conclusions: the consent decree is unduly vague or the agency is
pursuing its investigation in bad faith.


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cost of individual freedom. Compare Eminem, “Without Me” (2002) (“The [SEC] won’t let me

be or let me be me so let me see / They tried to shut me down . . .”) with Citadel Broad. Co.,

Mem. Op. and Order, 17 F.C.C. Rcd 483 (2002) (rescinding penalty against radio station for

playing Eminem song and noting “the First Amendment is a critical constitutional limitation that

demands we proceed cautiously and with appropriate restraint”).

       B.     The SEC’s Wrongful Prosecution Cannot Be Recast As Mr. Musk’s Regret.
       The SEC attempts to recast its own coercive prosecution of Mr. Musk, but the

Commission concedes that a wrongful act may create economic duress. Resp. at 14. See Krantz

v. BT Visual Images, L.L.C., 89 Cal. App. 4th 164, 176 (2001), as modified May 22, 2001

(“Impermissible threats include bad faith threatened use of civil process.”).          And the

Commission does not even seek to defend its initial prosecution of Mr. Musk for his truthful

tweets regarding taking Tesla private. See generally Mot. at 24–25.

       “[F]ear of financial ruin is uniformly recognized as a valid reason for submitting to

another party’s economic coercion.” In re Consol. Pretrial Proc. in Air W. Sec. Litig., 436 F.

Supp. 1281, 1290 (N.D. Cal. 1977). While settlements undoubtedly offer consideration to both

parties, like all contracts, that is no answer to a claim of coercion. “[A] reasonably prudent

person subject to [a wrongful] act may have no reasonable alternative but to succumb when the

only other alternative is bankruptcy or financial ruin.” Rich & Whillock, Inc. v. Ashton Dev.,

Inc., 157 Cal. App. 3d 1154, 1159 (Ct. App. 1984). And that the consent included a clause

regarding its voluntary nature does not absolve the SEC of any wrongful conduct. See In re

Marriage of Baltins, 212 Cal. App. 3d 66, 83 (Ct. App. 1989).

       C.     The SEC Has Made Compliance Unworkable With Its Unrelenting
              Investigations And Demands For Privileged Documents.
       The SEC again relies on vague citations to the Formal Order and its broad investigatory

power to justify another investigation that is patently seeking evidence of compliance with the


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consent decree. Resp. at 16; supra at 3–4. But the general investigative authority of the SEC

does nothing to inform the Court about whether the consent decree is workable.

       For example, the SEC has repeatedly demanded access to documents that are attorney-

client communications or attorney work product.        See, e.g., Musk Subpoena (demanding

production of “Documents related in any way to submission of the 12:17 tweet and/or the 12:23

tweet to Tesla’s General Counsel or Securities Counsel, or any counsel acting in either capacity

. . . .”). While Tesla and Mr. Musk have properly rebuked such efforts, the SEC has not relented

and has repeatedly taken the position that communications and work product reflecting attorney

advice regarding pre-approval are not privileged. Accordingly, as structured, compliance with

the consent decree cannot be confirmed without testing the outer bounds of attorney-client

privilege and the attendant constitutional concerns. See also generally Mot. at 16–20.

       D.     The SEC Confuses What Is Required By The Consent Decree And What The
              Securities Laws Mandate.
       The SEC takes the position that it may investigate any of Mr. Musk’s tweets so long as he

tweets about Tesla, regardless of whether the consent decree is vacated. Resp. at 17. As

described above, the SEC misapprehends what disclosure controls and procedures Rule 13a-15

requires. See supra at 4–6. Moreover, if the SEC is correct that Rule 13a-15 requires procedures

identical to the amended judgment, it is difficult to understand why the amended judgment

should remain in force.

IV.    CONCLUSION

       Mr. Musk respectfully requests the Court quash the Challenged Requests and terminate

the consent decree.




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Dated: New York, New York                   Respectfully submitted,
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                                 CERTIFICATE OF SERVICE
       I hereby certify that I caused the foregoing Motion to be filed with the Court’s CM/ECF

system this 29th day of March, 2022, thereby causing it to be served on all counsel of record.




Dated: New York, New York                           Respectfully submitted,
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